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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:
                                                       CASE NO. 16-34028
NORTHSTAR OFFSHORE GROUP, LLC,
                                                       CHAPTER 11
            DEBTOR
______________________________________________________________________________

               MEDCO ENERGI US LLC’S WITNESS AND EXHIBIT LIST

WITNESSES:                                    Judge: Hon. Marvin Isgur
    Martin Bech                               Ctrm Deputy:
    Those called by any other party.          Date: 7/17/19 at 9:00 a.m.
                                              Party: Medco Energi US LLC
                                              Atty: Michael D. Rubenstein
                                                     (713) 651-2953
                                              Amended Application for Allowance and
                                              Payment of Administrative Expense Claim

                                         EXHIBITS

 Ex #     Description            Marked Offered   Objection Admitted/Not   Disposition
                                                            Admitted
  A       Oil and Gas Lease –
          OCS-G 5392 (EC
          317)
  B       Oil and Gas Lease –
          OCS-G 5393 (EC
          317)
  C       BOEM Serial
          Register Page OCS-
          G 5392 (EC 317)
  D       BOEM Serial
          Register Page OCS-
          G 5393 (EC 318)
  E       BOEM Letter dated
          3/12/2014 approving
          RUE
  F       BSEE Letter dated
          July 25, 2017
          Granting Approval to
          Decommission in
          Place
  G       AFE 17-004
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  H     Medco Property Sub-
        Ledger re AFE: 17-
        004, EC 317/318
   I    Medco
        Decommissioning
        Costs EC 317/318
   J    BOEM Letter dated
        2/15/2019
        Authorizing Bond
        Cancellation (EC
        318)
  K     BOEM Letter dated
        2/28/2019
        Authorizing Bond
        Cancellation (RUE
        OCS-G 30210)
  L     Medco Cost
        Certification (EC
        317)
  M     Medco Cost
        Certification (EC
        318)

                                    Respectfully submitted,


                                    ________________________________
                                    Michael D. Rubenstein (Bar #24047514)
                                    LISKOW & LEWIS
                                    1001 Fannin Street, Ste. 1800
                                    Houston, Texas 77002
                                    Telephone: (713) 651-2953
                                    Facsimile: (713) 651-2908

                                    Attorneys for Medco Energi US LLC




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 12th day of July, 2019, Medco Energi US LLC’s Witness and

Exhibit List was filed electronically with the Clerk of Court using the CM/ECF system. Notice of

this filing will be sent to all counsel of record registered to receive electronic service by operation

of the court’s electronic filing system. I further certify that a copy of Medco Energi US LLC’s

Witness and Exhibit List’s along with all exhibits listed were sent via Federal Express on the 12th

day of July, 2019 to:

                                       Lydia T. Protopapas, Esq.
                                       PROTOPAPAS PLLC
                                       2009 North Durham Dr.
                                       Houston, TX 77008


                                               _____________________________
                                               Michael D. Rubenstein




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